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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                             CASE NO.:

     ORLANDO MEDERO,
     and other similarly-situated individuals,

             Plaintiff (s),

     v.

     RABBEX LLC
     and FRANCISCO DIEZ, individually

           Defendants,
     __________________________________________/

                                          COMPLAINT
                              (OPT-IN PURSUANT TO 29 U.S.C § 216(b))

             COMES NOW the Plaintiff ORLANDO MEDERO, and other similarly-situated

     individuals, by and through the undersigned counsel, and hereby sues Defendants

     RABBEX LLC, and FRANCISCO DIEZ, individually and alleges:

          1. This is an action to recover money damages for unpaid half-time overtime wages

             under the laws of the United States. This Court has jurisdiction pursuant to the Fair

             Labor Standards Act, 29 U.S.C. § 201-219 (Section 216 for jurisdictional

             placement) (“the Act”).

          2. Plaintiff ORLANDO MEDERO is a resident of Miami-Dade County, Florida,

             within the personal jurisdiction and venue of this Honorable Court. Plaintiff is a

             covered employee for purposes of the Act.

          3. Corporate Defendant RABBEX LLC (hereinafter RABBEX, or Defendant) is a for-

             profit corporation authorized to conduct business in the State of Florida, in Miami-



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           Dade County, Florida, and within the jurisdiction of this Court. Defendant was the

           employer of Plaintiff and others similarly situated within the meaning of Section

           3(d) of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)]. Defendant RABBEX

           is engaged in interstate commerce within the meaning of the Fair Labor Standards

           Act.

        4. The individual Defendant FRANCISCO DIEZ is the owner and manager of

           Defendant Corporation RABBEX. The individual Defendant is the employer of

           Plaintiff within the meaning of Section 3(d) of the “Fair Labor Standards Act” [29

           U.S.C. § 203(d)] and is jointly liable for Plaintiff’s damages.

        5. All the actions raised in this complaint took place in Dade County Florida, within

           the jurisdiction of this Court.

                        ALLEGATIONS COMMON TO ALL COUNTS

        6. This cause of action is brought by Plaintiff as a collective action to recover from

           Defendants half-time overtime compensation, liquidated damages, and the costs

           and reasonably attorney’s fees under the provisions of Fair Labor Standards Act, as

           amended, 29 U.S.C. § 201 et seq (the “FLA or the “ACT”), and on behalf of

           Plaintiff and all other current and former employees similarly situated to Plaintiff

           (“the asserted class”) who worked during one or more weeks on or after October

           2017 (the “material time”) without being properly compensated for overtime hours

           at the rate of time-and-a-half their regular rate, for all hours worked in excess of

           forty (40) hours per week, at any time from three years prior to the filing of this

           complaint and until a judgment is entered in this case .




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        7. Corporate Defendant RABBEX is an importer, processor, and wholesaler

           distributor of fresh garlic and other food items.

        8. Defendants RABBEX and FRANCISCO DIEZ employed Plaintiff ORLANDO

           MEDERO from approximately October 01, 2017 to August 25, 2018, or 47 weeks.

        9. Plaintiff was hired to work as a laborer/production employee at Defendants’

           processing plant.

        10. Plaintiff was a full time non-exempt hourly employee, working 5-6 days per week

           more than 40 hours every week. Plaintiff was entitled to be paid for overtime hours

           as established by the Fair Labor Standards Act.

        11. Plaintiff had multiple duties such as receiving, cleaning the warehouse, and

           production work. Plaintiff was paid a daily rate of $120.00 per day from Monday

           to Friday. On Saturdays, Plaintiff had a lower daily rate, he was paid $60.00.

        12. While employed by Defendants, Plaintiff had a regular schedule. Plaintiff worked

           an average of 5 days per week, usually from Monday to Friday from 6:30 AM to

           6:00 PM (11.5 hours daily), or until he completed his work assignment for the day.

           Plaintiff completed 55 hours every week.            Plaintiff has deducted 2.5 hours

           corresponding to lunch breaks.

        13. In addition, at least one per month, Plaintiff worked 7 days or from Monday to

           Saturday. On Saturdays Plaintiff worked from 7:30 AM to 3:PM (7.5 hours). On

           weeks of 6 days working days, Plaintiff completed 62 hours of work.

        14. Plaintiff was employed as a “laborer and production employee” performing the

           same or similar duties as that of those other similarly-situated “laborers and




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           production employees” who Plaintiff observed worked in excess of 40 hours per

           week without overtime compensation.

        15. Plaintiff, and other similarly-situated individuals, was compensated for all hours

           worked at his regular rate. Defendants did not compensated Plaintiff and other

           similarly situated individuals, for overtime hours.

        16. Therefore, Defendants willfully failed to pay Plaintiff overtime at the rate of time

           and a half his regular rate, for every hour that he worked in excess of forty (40), in

           violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C.

           207(a)(1).

        17. Plaintiff did not clock in and out, but Defendants were able to track the number of

           hours worked by Plaintiff and other similarly-situated individuals. Defendants

           should be in possession of time records.

        18. Plaintiff was paid weekly with company checks with paystubs that did not provide

           basic information such as number of days and hours worked, wage rate, etc.

        19. Plaintiff is not in possession of time records, but he will provide a good faith

           estimate of the unpaid half-time overtime hours, based on his recollections. After

           proper discovery, Plaintiff will amend his Statement of Claim properly.

        20. On or about August 24, 2018 Plaintiff suffered a work-related injury.

        21. The next day August 25, 2018, Defendant FRANCISCO DIEZ fired Plaintiff by

           text message.

        22. Plaintiff ORLANDO MEDERO intends to recover half-time overtime for every

           overtime hour which was paid at his regular rate, liquidated damages, and any other

           relief as allowable by law.



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        23. The additional persons who may become Plaintiffs in this action are employees

           and/or former employees of Defendants who are and who were subject to the

           unlawful payroll practices and procedures of Defendants and were not paid regular

           or overtime wages at the rate of time and one half of their regular rate of pay for all

           overtime hours worked in excess of forty.

                               COUNT I:
     WAGE AND HOUR FEDERAL STATUTORY VIOLATION of 29 U.S.C. § 207 (a)
                    (1) FAILURE TO PAY OVERTIME

        24. Plaintiff ORLANDO MEDERO re-adopts each and every factual allegation as

           stated in paragraphs 1-23 above as if set out in full herein.

        25. This action is brought by Plaintiff and those similarly-situated to recover from the

           Employers unpaid overtime compensation, as well as an additional amount as

           liquidated damages, costs, and reasonable attorney’s fees under the provisions of

           29 U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207.

           29 U.S.C. § 207 (a)(1) states, “No employer shall employ any of his employees…

           for a work week longer than 40 hours unless such employee receives compensation

           for his employment in excess of the hours above-specified at a rate not less than

           one and a half times the regular rate at which he is employed.”

        26. The Employer RABBEX, at all times pertinent to this Complaint, was engaged in

           interstate commerce within the meaning of the FLSA, and as defined in §§ 3 (r) and

           3(s) of the Act, 29 U.S.C. § 203(r) and 203(s). The Defendant is a wholesaler of

           fresh garlic, and producer of packaged garlic products. Defendant had more than

           two employees recurrently engaged in commerce or in the production of goods or

           services for commerce. The Employer/Defendant obtains and solicits funds from



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           non-Florida sources, accepts funds from non-Florida sources, uses telephonic

           transmissions going over state lines to do its business, transmits funds outside the

           State of Florida, and otherwise regularly engages in interstate commerce,

           particularly with respect to their employees. Upon information and belief, the

           annual gross revenue of the Employer/Defendant was at all times material hereto

           in excess of $500,000 per annum, and/or Plaintiff and those similarly-situated, by

           virtue of working in interstate commerce, otherwise satisfy the Act’s requirements.

           Therefore, there is FLSA enterprise coverage.

        27. The Plaintiff was employed by an enterprise engaged in interstate commerce. The

           Plaintiff’s work for the Defendant likewise affects interstate commerce. Plaintiff

           was a production employee, and through his daily activities he regularly was

           engaged in the production of goods for commerce, and/or to be marketed to

           business engaged in interstate commerce. In addition, Plaintiff handled, or

           otherwise worked on goods and/or materials that were moved across State lines at

           any time in the course of business. Therefore, there is FLSA individual coverage.

        28. Defendants RABBEX and FRANCISCO DIEZ employed Plaintiff ORLANDO

           MEDERO from approximately October 01, 2017 to August 25, 2018, or 47 weeks.

        29. Plaintiff was hired to work as a laborer/production employee at Defendants’

           processing plant.

        30. Plaintiff was a full time non-exempt hourly employee, working 5-6 days per week

           more than 40 hours every week. Plaintiff was entitled to be paid for overtime hours

           as established by the Fair Labor Standards Act.




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        31. Plaintiff had multiple duties such as receiving, cleaning the warehouse, and

           production work. Plaintiff was paid a daily rate of $120.00 per day from Monday

           to Friday. On Saturdays Plaintiff had a lower daily rate, he was paid $60.00 for the

           day.

        32. While employed by Defendants, Plaintiff had a regular schedule. Plaintiff worked

           an average of 5 days per week, usually from Monday to Friday from 6:30 AM to

           6:00 PM (11.5 hours daily), or until he completed his work assignment for the day.

           Plaintiff completed 55 hours every week.         Plaintiff has deducted 2.5 hours

           corresponding to lunch breaks.

        33. In addition, at least one per month, Plaintiff worked on Saturdays from 7:30 AM to

           3:PM (7.5). On weeks of 6 days working days, Plaintiff completed 62 hours of

           work.

        34. Plaintiff was employed as a “laborer and production employee” performing the

           same or similar duties as that of those other similarly-situated “shop employees”

           who Plaintiff observed worked in excess of 40 hours per week without overtime

           compensation.

        35. Plaintiff, and other similarly-situated individuals, was compensated for all hours

           worked at his regular rate. Defendants did not compensated Plaintiff and other

           similarly situated individuals, for overtime hours.

        36. Therefore, Defendants willfully failed to pay Plaintiff overtime at the rate of time

           and a half his regular rate, for every hour that he worked in excess of forty (40), in

           violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C.

           207(a)(1).



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        37. Plaintiff did not clock in and out, but Defendants were able to track the number of

            hours worked by Plaintiff and other similarly-situated individuals. Defendants

            should be in possession of time records.

        38. Plaintiff was paid weekly with company checks with paystubs that did not provide

            basic information such as number of days and hours worked, wage rate, etc.

        39. Plaintiff is not in possession of time records, but he will provide a good faith

            estimate of the unpaid half-time overtime hours, based on his recollections. After

            proper discovery, Plaintiff will amend his Statement of Claim properly.

        40. The records concerning the number of hours actually worked by Plaintiff

            ORLANDO MEDERO, and all other similarly-situated employees, and the

            compensation actually paid to such employees should be in the possession and

            custody of Defendants. However, upon information and belief, Defendants did not

            maintain accurate time records of hours worked by Plaintiff and other employees.

        41. Defendants violated the record keeping requirements of FLSA, 29 CFR Part 516.

        42. Upon information and belief, Defendant never posted any notice, as required by the

            Fair Labor Standards Act and Federal Law, to inform employees of their Federal

            rights to overtime and minimum wage payments. Defendant violated the Posting

            requirements of 29 U.S.C. § 516.4.

        43. Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the

            time of the filing of this complaint, Plaintiff’s good faith estimate of unpaid wages

            are as follows:

        * Please note that these amounts are based on a preliminary calculation and that these
        figures are subjected to modifications as discovery could dictate. After proper
        discovery, Plaintiff will adjust his calculations.



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              a. Total amount of alleged unpaid wages:

                  Four Thousand Two Hundred Thirty Dollars and 44/100 ($4,230.44)

              b. Calculation of such wages:

                  Total number of relevant weeks: 47 weeks

                    i. Overtime calculations for 36 weeks with 5 working days
                  Relevant weeks: 36 weeks
                  Total hours worked weekly: 55 hours
                  Total overtime hours weekly: 15 O/T hours weekly
                  Paid daily $120 x 5 days=$600.00 weekly
                  $600 weekly: 55 hours worked= $10.91 an hour
                  Regular rate: $10.91 hourly rate:2= $5.45 half-time

                  Half-time $5.45 x 15 O/T hours=$81.75 weekly x 36 weeks=$2,943.00

                   ii. Overtime calculations for 11 weeks with 6 working days
                  Relevant weeks: 11 weeks
                  Total hours worked weekly: 62 hours
                  Total overtime hours weekly: 22 O/T hours weekly
                  Paid daily $120.00 x 5 days + $60.00 Saturdays =$660.00 weekly
                  $660.00 weekly: 62 hours worked= $10.64 an hour
                  Regular rate: $10.64 hourly rate:2= $5.32 half-time

                  Half-time $5.32 x 22 O/T hours=$117.04 weekly x 11 weeks=$1,287.44

              c. Nature of wages (e.g. overtime or straight time):

                 This amount represents the unpaid half-time overtime.

        44. At all times material hereto, the Employer/Defendant RABBEX failed to comply

           with Title 29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that

           Plaintiff and those similarly-situated performed services and worked in excess of

           the maximum hours provided by the Act but no provision was made by the

           Defendant to properly pay them at the rate of time and one half for all hours worked

           in excess of forty hours (40) per workweek as provided in said Act. The additional

           persons who may become Plaintiffs in this action are weekly-paid employees and/or



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           former employees of Defendant who are and who were subject to the unlawful

           payroll practices and procedures of Defendant and were not paid time and one half

           of their regular rate of pay for all overtime hours and straight time hours worked in

           excess of forty.

        45. Defendant RABBEX knew and/or showed reckless disregard of the provisions of

           the Act concerning the payment of overtime wages as required by the Fair Labor

           Standards Act and remains owing Plaintiff and those similarly-situated these

           overtime wages since the commencement of Plaintiff’s and those similarly-situated

           employee’s employment with Defendant as set forth above, and Plaintiff and those

           similarly-situated are entitled to recover double damages.

        46. At the times mentioned, individual Defendant FRANCISCO DIEZ was, and is now,

           the owner/manager of Defendant Corporation RABBEX. The individual Defendant

           FRANCISCO DIEZ had financial and operational control of RABBEX, provided

           Plaintiff with his work schedule, and he is jointly liable for Plaintiff’s damages.

           Individual Defendant FRANCISCO DIEZ was the employer of Plaintiff

           ORLANDO MEDERO and others similarly situated within the meaning of Section

           3(d) of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)], in that this individual

           Defendant acted directly in the interest of RABBEX in relation to its employees,

           including Plaintiff and others similarly situated.

        47. Defendants RABBEX and FRANCISCO DIEZ willfully and intentionally refused

           to pay Plaintiff overtime wages as required by the law of the United States and

           remain owing Plaintiff these overtime wages since the commencement of Plaintiff’s

           employment with Defendants, as set forth above.



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        48. Plaintiff has retained the law offices of the undersigned attorney to represent him

            in this action and is obligated to pay a reasonable attorneys’ fee.

                                      PRAYER FOR RELIEF

     WHEREFORE, Plaintiff ORLANDO MEDERO and those similarly-situated individuals

     respectfully request that this Honorable Court:

            A. Enter judgment for Plaintiff ORLANDO MEDERO and other similarly-situated

                and against the Defendants RABBEX and FRANCISCO DIEZ, on the basis of

                Defendants’ willful violations of the Fair Labor Standards Act, 29 U.S.C. § 201

                et seq.; and

            B. Award Plaintiff actual damages in the amount shown to be due for unpaid half-

                time overtime compensation for hours worked in excess of forty weekly, with

                interest; and

            C. Award Plaintiff an equal amount in double damages/liquidated damages; and

            D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

            E. Grant such other and further relief as this Court deems equitable and just and/or

                available pursuant to Federal Law.




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                                           JURY DEMAND

     Plaintiff ORLANDO MEDERO and those similarly-situated demand trial by jury of all

     issues triable as of right by jury.

     Dated: This 27th day of October 2018.                  Respectfully submitted,


                                                            By: _/s/ Zandro E. Palma____
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